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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      CRIMINAL NO. 6:10-cr-00279-01

 VERSUS                                        JUDGE DOHERTY

 COREY DEMOND BARFIELD (01)                    MAGISTRATE JUDGE HANNA


                            MEMORANDUM RULING
                                (Rec. Doc. 64)


       Currently pending before this Court is the motion for severance that was filed

 by defendant Corey Demond Barfield (Rec. Doc. 64). For the following reasons, the

 motion is DENIED.



                              FACTUAL BACKGROUND

       Barfield was indicted, along with David Charles Jenkins and Kamal Dumaka

 Leday, and charged in Count I with conspiracy to possess with intent to distribute

 cocaine base in violation of 21 U.S.C. § 846 and in Count II with possession with

 intent to distribute cocaine base in violation of 21 U.S.C. § 841(a)(1). (Rec. Doc. 2).

 Barfield claims that he has been pressured by Jenkins and Leday to “take the charge”

 and exonerate them. (Rec. Doc. 64 at ¶12).
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        In particular, Barfield claims that he was visited at the St. Martin Parish

 Detention Center in Breaux Bridge, Louisiana, on November 30, 2010, by Alberta

 Landry, who is believed to be Leday’s mother, and Audrey F. Searles, a notary public.

 (Rec. Doc. 64 at ¶6). They allegedly asked Barfield to sign an affidavit exonerating

 Leday and Jenkins. Barfield signed a two-page affidavit (Rec. Doc. 65-1). Barfield

 now claims that the affidavit was prepared by Leday, is false, and was signed under

 pressure from Leday (Rec. Doc. 64 at ¶7).

        Barfield also claims that Leday encouraged him to file an ethics complaint

 against his counsel, Lester J. Gauthier, Jr., which was allegedly received by the

 Louisiana Office of Disciplinary Counsel on December 1, 2010. (Rec. Doc. 64 at

 ¶¶8-9). Barfield now disavows the ethics complaint (Rec. Doc. 64 at ¶10) and

 contends that it was filed only because Leday aided in the preparation of the

 complaint and urged Barfield to file it in order to undermine the effectiveness of the

 attorney-client relationship between Barfield and his counsel (Rec. Doc. 64 at ¶¶10-

 11).

        In summary, Barfield claims that both Jenkins and Leday have attempted to

 influence him to “take the charge” and exonerate them. (Rec. Doc. 64 at ¶12). He

 further claims that he is “seriously prejudiced by his joinder in the indictment and for

 the purposes of trial with co-defendants Jenkins and Leday.” (Rec. Doc. 64 at ¶12).

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 He seeks to have the charges against him severed from those against his codefendants

 and to be tried separately from Jenkins and Leday.



                                           ANALYSIS

        Rule 8(b) of the Federal Rules of Criminal Procedure provides for the joint trial

 of defendants who are alleged to have participated in the same criminal “act or

 transaction, or in the same series of acts or transactions.” Generally, defendants

 charged in a single indictment should be tried together.1 Joinder of defendants is

 particularly appropriate when conspiracy is one of the charges.2 In fact, “the Fifth

 Circuit recognizes a strong presumption that ‘persons indicted together should be

 tried together, especially in a conspiracy case.”3 Since the defendants in this case

 were charged in the same indictment and since they were charged with conspiracy,

 it would be appropriate for them to be tried together. Therefore, the undersigned

 finds that these defendants were properly joined.

        1
               United States v. Ellender, 947 F.2d 748, 754 (5th Cir. 1991); United States v.
 Arzola-Amaya, 867 F.2d 1504, 1516 (5th Cir.), cert. denied, 493 U.S. 933, 110 S.Ct. 322, 107
 L.Ed.2d 312 (1989).
        2
                United States v. Miranda, 248 F.3d 434, 439 (5th Cir. 2001); United States v. Neal,
 27 F.3d 1035, 1045 (5th Cir.1994) United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir.1993);
 United States v. Ellender, 947 F.2d at 754; United States v. Wheeler, 802 F.2d 778, 782 (5th Cir.
 1986).
        3
                United States v. Furlow, 2010 WL 5067839, 1 (W.D. La. 2010), quoting United
 States v. Rodriguez, 553 F.3d 380, 394 (5th Cir. 2008).

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        Rule 14(a) of the Federal Rules of Criminal Procedure provides for the

 severance of joined defendants when joinder “appears to prejudice a defendant or the

 government.”4 The word “prejudice,” as used in this context, means “a serious risk

 that a joint trial would compromise a specific trial right of one of the defendants, or

 prevent the jury from making a reliable judgment about guilt or innocence.”5

 Severance is required only in cases of “compelling prejudice.”6 When deciding

 whether severance is appropriate, a district court should balance any prejudice to the

 defendant against the interests of judicial economy.7 A defendant bears a “heavy

 burden” to show prejudice sufficient to warrant severance.8

        Whether to grant a motion for severance rests within the sound discretion of

 the trial court and is required only in cases of compelling prejudice.9 “When the risk

 of prejudice is high, a district court is more likely to determine that separate trials are


        4
                See, also, United States v. McGrew, 165 Fed. App’x 308, 316 (5th Cir. 2006).
        5
               United States v. Rodriguez, 553 F.3d at 394, quoting Zafiro v. United States, 506 U.S.
 534, 539 (1993).
        6
               United States v. Rice, 607 F.3d 133, 142 (5th Cir. 2010), quoting United States v.
 McIntosh, 655 F.2d 80, 84 (5th Cir. 1981).
        7
                United States v. Ballis, 28 F.3d 1399, 1408 (5th Cir. 1994).
        8
               United States v. Mitchell, 31 F.3d 271, 276 (5th Cir. 1994); United States v. Herring,
 602 F.2d 1220, 1225 (5th Cir. 1979).
        9
               United States v. Peterson, 244 F.3d 385, 393 (5th Cir. 2001); United States v.
 McIntosh, 655 F.2d at 84.

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 necessary, but ... less drastic measures, such as limiting instructions, often will suffice

 to cure any risk of prejudice.”10 Instructing the jury to consider the evidence as to

 each defendant separately and individually and not to consider comments made by

 counsel as substantive evidence often suffices to cure any prejudice caused when

 co-defendants accuse each other of the crime charged.11

           A trial court abuses its discretion in denying severance only if the defendant

 demonstrates that “(1) the joint trial prejudiced him to such an extent that the district

 court could not provide adequate protection; and (2) the prejudice outweighed the

 government's interest in economy of judicial administration.”12

           In this case, Barfield suggests two bases seeking severance, neither of which

 mandates severance at this time.




           10
                 United States v. Mitchell, 484 F.3d at 775, quoting Zafiro v. United States, 506 U.S.
 at 539.
           11
                See, e.g., United States v. Morrow, 177 F.3d 272, 290 -291 (5th Cir. 1999); United
 States v. Mann, 161 F.3d 840, 863 (5th Cir. 1998); United States v. Bullock, 71 F.3d 171, 175 (5th Cir.
 1995); United States v. Stouffer, 986 F.2d 916, 924 (5th Cir.1993).
           12
               United States v. Valdez, 453 F.3d 252, 261 (5th Cir. 2006), quoting United States v.
 Richards, 204 F.3d 177, 193 (5th Cir. 2000) (citations omitted).

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 A.     UNITED STATES V. BRUTON AND THE CONFRONTATION CLAUSE

        The affidavit that was signed by Barfield, allegedly at the urging of Leday,

 attempts to exonerate Jenkins and Leday and at least implicitly inculpates Barfield.

 Under the rationale of Bruton v. United States, 391 U.S. 123 (1968), when the

 confession of one defendant, which implicates another defendant, is placed before the

 jury at the defendants’ joint trial, and the confessing defendant does not testify, the

 Confrontation Clause of the Sixth Amendment is violated. Barfield argues that the

 potential Bruton problem presented by the existence of Barfield’s affidavit requires

 that the charges against Barfield be severed from those against Leday and Jenkins and

 that Barfield be tried separately.

        It would be premature to sever Barfield on that basis at this time. A

 Confrontation Clause problem involving the affidavit will not actually exist until it

 is known (1) whether the affidavit will be offered at trial and (2) whether Barfield

 will testify at trial.13 If the affidavit is offered into evidence and Barfield testifies,

 Barfield will be subject to cross-examination and the requirements of the




        13
                 United States v. Ramirez-Aquino, 2006 WL 3692755, 1 (W.D. La. 2006) (“unless and
 until the government attempts to introduce the statements..., [defendant] cannot demonstrate the
 requisite prejudice necessary for the grant of a separate trial.”)

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 Confrontation Clause will be satisfied.14 If, however, the affidavit is offered into

 evidence at trial and Barfield declines to testify and is therefore “unavailable as a

 witness” under Rule 804 (a) of the Federal Rules of Evidence, there is a possibility

 that the affidavit would be admissible as an exception to the hearsay rule under Rule

 804(b)(3), and an actual Bruton problem might arise. At that time, the trial court

 judge would be required to analyze the circumstances and determine whether

 severance is necessary. Under certain circumstances, a Bruton problem may be cured

 through redaction of the prior statement and limiting instructions from the court.15

 But until those facts are established – whether the affidavit will be offered into

 evidence and whether Barfield will testify at trial – Barfield’s motion for severance

 is premature.

        Accordingly, the undersigned finds that Barfield is not entitled to severance on

 the basis of Bruton at this time. Until there is an actual Bruton problem, Barfield

 cannot establish that the affidavit prejudices him. Consequently, severance is not

 necessary at this time to avoid any possible prejudice that might arise from Barfield’s

 being tried jointly with Jenkins and Leday.

        14
               See, e.g., United States v. Wilson, 657 F.2d 755, 766 n. 15 (5th Cir. 1981) (“Since
 [defendant] was cross-examined by both appellants, the problem, present in Bruton... is not present
 here.”)
        15
               See, e.g., United States v. Kelly, 973 F.2d 1145, 1150 (5th Cir 1992) citing Richardson
 v. Marsh, 481 U.S. 200, 211 (1987).

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 B.     ANTAGONISTIC DEFENSES AND DEFENDANTS

        Barfield argues that the existence of antagonistic defenses and defendants in

 this case requires that the charges against Barfield be severed. It is anticipated that

 Leday and Jenkins will be offering defenses attempting to prove that Barfield is guilty

 of the crimes charged but they are not. It is anticipated that Barfield will attempt to

 establish his own innocence. Severance is not mandated when codefendants have

 conflicting defenses,16 or when codefendants disagree on the facts.17 A defendant is

 not entitled to severance merely because he may have a better chance of acquittal in

 a separate trial.18 Even “[m]utually antagonistic defenses are not prejudicial per se.”19

        In order to warrant a severance, antagonistic defenses “must be so diametrically

 opposed that the jury, in order to believe the core of testimony offered on behalf of

 [one] defendant, must necessarily disbelieve the testimony offered on behalf of his




        16
                Zafiro v. United States, 506 U.S. at 538.
        17
                United States v. Berkowitz, 662 F.2d 1127, 1134 (5th Cir. 1981).
        18
                Zafiro v. United States, 506 U.S. at 540.
        19
                United States v. Daniels, 281 F.3d 168, 177 (5th Cir. 2002), quoting Zafiro v. United
 States, 506 U.S. at 538.

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 codefendant.”20 Thus, a court should grant a motion to sever only when the defenses

 are “irreconcilable and mutually exclusive.”21

        Barfield has not alleged or articulated facts sufficient for the undersigned to

 find that his defense – or the defenses presented by Leday or Jenkins – may be

 antagonistic with those of another codefendant. There is no evidence that the

 defenses likely to be presented by the three codefendants in this case would require

 the jury to find one or more of the codefendants guilty if one of more of them is

 acquitted. Instead, this appears to be the type of situation in which proving the guilt

 of any one of the three codefendants will not necessarily establish the innocence of

 any other codefendant. This distinguishes the instant case from those in which

 severance was required because of antagonistic defenses.22

        Similarly, Barfield has presented no evidence that there is a serious risk that a

 joint trial would compromise a specific trial right of any one of the defendants, or

 prevent the jury from making a reliable judgment about guilt or innocence.


        20
                 United States v. Daniels, 281 F.3d at 177 (internal quotation marks and citation
 omitted), citing United States v. Berkowitz, 662 F.2d at 1134.
        21
                United States v. Rocha, 916 F.2d 219, 231 (5th Cir. 1990); United States v. Grapp, 653
 F.2d 189, 193 (5th Cir.1981).
        22
                  See, e.g., United States v. Macias, 2009 WL 508719, 3 (N.D.Tex. 2009), citing
 United States v. Bynum, 566 F.2d 914, 926 (5th Cir. 1978) (rejecting claim that severance was
 mandatory due to irreconcilable defenses because it was “not essential to [one defendant's] defense,
 that the jury find [another defendant] guilty of the substantive offenses.”)

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          Barfield has failed to establish the existence of an irreconcilable conflict. The

 core of his defense appears to be his own innocence, which he can establish by

 demonstrating that he lacked sufficient knowledge or intent to violate the law. The

 jury can believe this regardless of whether it believes his testimony regarding his

 co-defendants' criminal activity. That is, the guilt of his co-defendants is not at the

 core of his own claim to innocence. Indeed, Barfield fails to explain, let alone

 establish, how the guilt of his co-defendants demonstrates his innocence or vice

 versa.

          Therefore, the undersigned further finds that, because the defenses are not

 mutually antagonistic and alternative remedies are available, severance is not

 necessary to avoid any possible prejudice that might arise from trying Barfield along

 with Jenkins and Leday.



                                       CONCLUSION

          The undersigned finds that the defendants were properly joined together, as

 they are each charged with a role in the same conspiracy, which is part of the “same

 series of acts or transactions, constituting an offense or offenses,” as required by Rule

 8(b). The possibility of prejudice that could result from trying these defendants

 together is, at the current time, minimal at most.           Instead of severance, the

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 undersigned finds that the trial court judge will be able to sufficiently mitigate the

 possibility of prejudice through jury instructions and by continuing to monitor this

 case as it progresses to trial. Because Barfield has not demonstrated that without

 severance he would suffer compelling prejudice that would result in an unfair trial,

 severance is not warranted at this time, and his motion to sever (Rec. Doc. 64) is

 hereby DENIED.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this ruling have fourteen days from service of this memorandum ruling

 to file specific, written objections with the Clerk of Court. A party may respond to

 another party’s objections within fourteen days after being served, with a copy of any

 objections or response being provided to the District Judge at the time of filing.

       Failure to file written objections to the proposed factual findings and/or

 the proposed legal conclusions reflected in this memorandum ruling within

 fourteen days following the date of its service, or within the time frame

 authorized by Fed. R. Civ. P. 6(b), shall bar an aggrieved party from attacking

 either the factual findings or the legal conclusions accepted by the District Court,

 except upon grounds of plain error. See, Douglass v. United Services Automobile




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 Association, 79 F.3d 1415 (5th Cir. 1996).

       Lafayette, Louisiana, this 14th day of January, 2011.




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